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                                                                         Pg 1 of 52




 Fill in this information to identify the case:

 Debtor name         TBA Global, LLC f/k/a TBA Global Events, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                     amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                          12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                 Schedule H: Codebtors (Official Form 206H)

                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on              April 14, 2016                      X      /s/ Stephan M. Pinsly
                                                                         Signature of individual signing on behalf of debtor

                                                                         Getzler Henrich & Associates LLC, by Stephan M. Pinsly
                                                                         Printed name

                                                                         Chief Responsible Officer
                                                                         Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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             16-10914-mew                             Doc 2              Filed 04/14/16 Entered 04/14/16 20:51:43                                                                  Main Document
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 Fill in this information to identify the case:

 Debtor name            TBA Global, LLC f/k/a TBA Global Events, LLC

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                          amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                      12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                     $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                        $          569,961.10

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                       $          569,961.10


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                     $      13,955,215.12


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                        $          217,260.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                                +$        9,731,235.02


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                              $        23,903,710.14




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                    page 1
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 Fill in this information to identify the case:

 Debtor name          TBA Global, LLC f/k/a TBA Global Events, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                        12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest

 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                             number
                     Webster Bank
                     145 Bank Street
            3.1.     Waterbury, CT 06720                                    Operating                        9508                                    $2,975.17


                     Webster Bank
                     145 Bank Street
            3.2.     Waterbury, CT 06720                                    Custodial                        9542                                           $0.00


                     Webster Bank
                     145 Bank Street
            3.3.     Waterbury, CT 06720                                    Payroll                          9524                                           $0.00



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                                     $2,975.17
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.
 7.         Deposits, including security deposits and utility deposits
            Description, including name of holder of deposit


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                              page 1
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 Debtor           TBA Global, LLC f/k/a TBA Global Events, LLC                               Case number (If known)
                  Name

                   Southfield HS Development LLC
                   26555 Evergreen Rd. Ste. 102
                   Southfield, MI 48076
           7.1.    [Security deposit with landlord]                                                                               $14,990.25


                   Rollins Associates L.P.
                   1415 Elm Hill Pike
                   Nashville, TN 37210
           7.2.    [Security deposit with landlord]                                                                                 $1,150.00


                   Wheels Up
                   220 W. 42nd Street Floor 10
                   New York, NY 10036
           7.3.    [Security deposit with landlord]                                                                               $34,615.04


                   Fort IX, LLC
                   113 Seaboard Lane, Suite A-105
                   Franklin, TN 37067
           7.4.    [Security deposit with landlord]                                                                                 $3,414.77


                   Pacific Union Co.
                   106 Lincoln Blvd.
                   San Francisco, CA 94129
           7.5.    [Security deposit with landlord]                                                                                 $2,912.79



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


           8.1.    The Hartford - Workers Compensation                                                                              $7,084.62




           8.2.    Philadelphia Insurance Policies - Entertainment Umbrella                                                         $5,112.00




           8.3.    Philadelphia Insurance Policies - Entertainment                                                                  $2,762.00




           8.4.    ACE Foreign Package - insurance                                                                                    $875.00




           8.5.    AON Ent & Foreign Financing - insurance                                                                            $255.41




           8.6.    Indian Harbor - Professional Liability Insurance                                                               $15,444.00




 9.        Total of Part 2.                                                                                                    $88,615.88
           Add lines 7 through 8. Copy the total to line 81.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                           page 2
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 Debtor         TBA Global, LLC f/k/a TBA Global Events, LLC                                      Case number (If known)
                Name



 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

     No. Go to Part 4.
     Yes Fill in the information below.                                                         * This estimate is for projects not completed.
 11.       Accounts receivable
           11a. 90 days old or less:                         4,078,370.05    -                         3,600,000.00 * = ....                       $478,370.05
                                              face amount                           doubtful or uncollectible accounts




 12.       Total of Part 3.                                                                                                                   $478,370.05
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

     No.    Go to Part 5.
     Yes Fill in the information below.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No.    Go to Part 6.
     Yes Fill in the information below.

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
     Yes Fill in the information below.
           General description                                                   Net book value of         Valuation method used        Current value of
                                                                                 debtor's interest         for current value            debtor's interest
                                                                                 (Where available)

 39.       Office furniture
           Miscellenous furniture.                                                           $312.51                                                         $0.00



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Ricoh leased copiers at the New York, Detroit,
           and Nashville locations.                                                  Undetermined                                                            $0.00


           Television, laptops, computers and server
           equipment at various debtor locations.                                         $19,743.70                                                         $0.00

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                              page 3
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 Debtor         TBA Global, LLC f/k/a TBA Global Events, LLC                                  Case number (If known)
                Name




 42.        Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
            books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
            collections; other collections, memorabilia, or collectibles

 43.        Total of Part 7.                                                                                                                   $0.00
            Add lines 39 through 42. Copy the total to line 86.

 44.        Is a depreciation schedule available for any of the property listed in Part 7?
             No
             Yes
 45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes
 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No.    Go to Part 9.
     Yes Fill in the information below.

 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No.    Go to Part 10.
     Yes Fill in the information below.

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No. Go to Part 11.
     Yes Fill in the information below.
            General description                                               Net book value of       Valuation method used   Current value of
                                                                              debtor's interest       for current value       debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites

 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property
            Trademarks
            - Serial No. 85462952 "How1Loud"
            - Serial No. 85497752 "Fastest Kid in America"
            - Serial No. 85497723 "Evento"
            - Serial No. 85470127 "LUVLOUD"
            - Serial No. 78517047 "TBA GLOBAL EVENTS"
            - Serial No. 85691291 "Fandom"                                         $1,499,994.00                                    Undetermined



 65.        Goodwill



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 4
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 Debtor         TBA Global, LLC f/k/a TBA Global Events, LLC                                 Case number (If known)
                Name

           Global Events and Marketing, LLC
           [100% membership interest]                                                                                         Undetermined



 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership
           TBA Global Marketing Inc.
           [Intercompany receivable balance from debtor's
           Canadian subsidiary]                                                                                               Undetermined


           TBA Global Limited
           [Intercompany receivable balance from debtor's UK
           subsidiary]                                                                                                        Undetermined




 78.       Total of Part 11.                                                                                                           $0.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                           page 6
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 Debtor          TBA Global, LLC f/k/a TBA Global Events, LLC                                                        Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                              $2,975.17

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $88,615.88

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $478,370.05

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                            $569,961.10           + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $569,961.10




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 7
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 Fill in this information to identify the case:

 Debtor name          TBA Global, LLC f/k/a TBA Global Events, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                        Check if this is an
                                                                                                                                             amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                   Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                               that supports this
                                                                                                                   Do not deduct the value     claim
                                                                                                                   of collateral.
        Webster Bank, National
 2.1                                                                                                                    $5,578,000.00           Undetermined
        Assoc.                                        Describe debtor's property that is subject to a lien
        Creditor's Name
        Two Stamford Plaza
        281 Tresser Blvd., 4th Floor
        Stamford, CT 06901
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



        Webster Bank, National
 2.2                                                                                                                    $8,377,215.12           Undetermined
        Assoc.                                        Describe debtor's property that is subject to a lien
        Creditor's Name
        Two Stamford Plaza
        281 Tresser Blvd., 4th Floor
        Stamford, CT 06901
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply

Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 2
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 Debtor       TBA Global, LLC f/k/a TBA Global Events, LLC                                       Case number (if know)
              Name

        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.




                                                                                                                         $13,955,215.
 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                   12

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                     On which line in Part 1 did        Last 4 digits of
                                                                                                              you enter the related creditor?    account number for
                                                                                                                                                 this entity
        King & Spalding LLP
        Attn: Mark Maloney, Esq.                                                                          Line   2.1
        1180 Peachtreet Street N.E.
        Atlanta, GA 30309

        King & Spalding LLP
        Attn: Mark Maloney, Esq.                                                                          Line   2.2
        1180 Peachtreet Street N.E.
        Atlanta, GA 30309

        Robinston & Cole LLP
        Attn. Michael Kaufman, Esq.                                                                       Line   2.1
        885 Third Ave., 28th Floor
        New York, NY 10022-4834

        Robinston & Cole LLP
        Attn. Michael Kaufman, Esq.                                                                       Line   2.2
        885 Third Ave., 28th Floor
        New York, NY 10022-4834




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         TBA Global, LLC f/k/a TBA Global Events, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.
       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       $3,862.00        $3,862.00
           Amanda E. Pomrenke                                        Check all that apply.
           689 MARIN BLVD. #PH1A                                      Contingent
           Jersey City, NJ 07310                                      Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Vacation, personal, and sick pay
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       $2,679.00        $2,679.00
           Andrea E. Bradford                                        Check all that apply.
           1325 JACKSON ST                                            Contingent
           San Francisco, CA 94109                                    Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Vacation, personal, and sick pay
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 of 35
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 Debtor       TBA Global, LLC f/k/a TBA Global Events, LLC                                                    Case number (if known)
              Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $13,345.00    $12,475.00
          Andrew G. Lesher                                           Check all that apply.
          564 MARIN AVE                                               Contingent
          Mill Valley, CA 94941                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Vacation, personal, and sick pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $0.00    $0.00
          Arizona Dept of Revenue                                    Check all that apply.
          Collections - Division 23                                   Contingent
          1600 West Monroe                                            Unliquidated
          Phoenix, AZ 85007-2650                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     For notice purposes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $0.00    $0.00
          California Frachise Tax Board                              Check all that apply.
          300 S. Spring St., Suite 5704                               Contingent
          Los Angeles, CA 90013-1265                                  Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     For notice purposes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $3,635.00    $3,635.00
          Cezanne C. Albright-Engel                                  Check all that apply.
          34 Knox Lane                                                Contingent
          Manalapan, NJ 07726                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Vacation, personal, and sick pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 Debtor       TBA Global, LLC f/k/a TBA Global Events, LLC                                                    Case number (if known)
              Name

 2.7      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $5,856.00    $5,856.00
          Christine L. Kiesling                                      Check all that apply.
          336 FT. WASHINGTON AVE., #5H                                Contingent
          New York, NY 10033                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Vacation, personal, and sick pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.8      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $0.00     $0.00
          City Treasurer - Southfield                                Check all that apply.
          26000 Evergreen Road                                        Contingent
          PO Box 2055                                                 Unliquidated
          Southfield, MI 48037-2055                                   Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     For notice purposes.
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.9      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $0.00     $0.00
          Colorado Dept of State                                     Check all that apply.
          1700 Broadway, Suite 200                                    Contingent
          Denver, CO 80217-0087                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     For notice purposes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.10     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $5,090.00    $5,090.00
          Cynthia A Bell                                             Check all that apply.
          37351 SEABROOK DR                                           Contingent
          Livonia, MI 48152                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Vacation, personal, and sick pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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              Name

 2.11     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $318.00     $318.00
          Danielle Mayer                                             Check all that apply.
          21A BELFIELD AVE                                            Contingent
          Staten Island, NY 10312                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Vacation, personal, and sick pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.12     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $8,581.00    $8,581.00
          Dave L. Longwill                                           Check all that apply.
          1505 DEMONBREUN ST. APT #601                                Contingent
          Nashville, TN 37203                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Vacation, personal, and sick pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.13     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $0.00     $0.00
          Delaware Secretary of State                                Check all that apply.
          Divisions of Corporations                                   Contingent
          PO Box 74072                                                Unliquidated
          Baltimore, MD 21274-4072                                    Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     For notice purposes.
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.14     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $0.00     $0.00
          Donald E. Henry                                            Check all that apply.
          5535 STERLING LAKES CIRCLE                                  Contingent
          206                                                         Unliquidated
          Mason, OH 45040                                             Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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              Name

 2.15     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $1,097.00    $1,097.00
          Doreen N. Speller                                          Check all that apply.
          43-32 KISSENA BLVD 6D                                       Contingent
          Flushing, NY 11355                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Vacation, personal, and sick pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.16     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $7,430.00    $7,430.00
          Elizabeth A. Jones                                         Check all that apply.
          3 CALUMET AVE                                               Contingent
          San Anselmo, CA 94960                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Vacation, personal, and sick pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.17     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $0.00     $0.00
          Georgia Dept of Revenue                                    Check all that apply.
          Attn: Office of Counsel                                     Contingent
          1800 Century Blvd. NE                                       Unliquidated
          Atlanta, GA 30345                                           Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     For notice purposes.
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.18     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $9,726.00    $9,726.00
          Gloria C. Lee                                              Check all that apply.
          24704 CALLE CONEJO                                          Contingent
          Calabasas, CA 91302                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Vacation, personal, and sick pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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              Name

 2.19     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $0.00     $0.00
          Internal Revenue Service                                   Check all that apply.
          Bankruptcy Unit                                             Contingent
          290 Broadway - 5th Floor                                    Unliquidated
          New York, NY 10007                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     For notice purposes.
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.20     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $4,668.00    $4,668.00
          Jennifer H. Gothelf                                        Check all that apply.
          2-14TH STREET 809                                           Contingent
          Hoboken, NJ 07030                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Vacation, personal, and sick pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.21     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $1,853.00    $1,853.00
          Jennifer M. Beers                                          Check all that apply.
          17 BUHL LANE                                                Contingent
          East Northport, NY 11731                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Vacation, personal, and sick pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.22     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $6,761.00    $6,761.00
          Josie L. Viloria                                           Check all that apply.
          5536 BIRCHVIEW LANE                                         Contingent
          Camarillo, CA 93012                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Vacation, personal, and sick pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.23     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $2,084.00    $2,084.00
          Kathleen L. Meissner                                       Check all that apply.
          527 BALDWIN AVE                                             Contingent
          Royal Oak, MI 48067                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Vacation, personal, and sick pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.24     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $6,202.00    $6,202.00
          Kevin M Dent                                               Check all that apply.
          3841 PARK AVE                                               Contingent
          Edison, NJ 08820                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.25     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $0.00     $0.00
          Los Angeles County                                         Check all that apply.
          LA County Tax Collector                                     Contingent
          225 North Hill St., Rm 122                                  Unliquidated
          Los Angeles, CA 90012                                       Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     For notice purposes.
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.26     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $5,118.00    $5,118.00
          MacKenzie R. Staffier                                      Check all that apply.
          159 W 23 ST APT 4F                                          Contingent
          New York, NY 10011                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Vacation, personal, and sick pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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              Name

 2.27     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $4,155.00    $4,155.00
          Mahabub A. Hoque                                           Check all that apply.
          125 SPRINGFIELD RD                                          Contingent
          Elizabeth, NJ 07208                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Vacation, personal, and sick pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.28     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $1,334.00    $1,334.00
          Margaret A. Roache                                         Check all that apply.
          3875 BISHOP                                                 Contingent
          Detroit, MI 48224                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Vacation, personal, and sick pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.29     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $7,442.00    $7,442.00
          Martin P. West                                             Check all that apply.
          83 2 PLACE 2L                                               Contingent
          Brooklyn, NY 11231                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Vacation, personal, and sick pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.30     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $2,858.00    $2,858.00
          Melissa J. Touchtone                                       Check all that apply.
          24505 HARMON                                                Contingent
          Saint Clair Shores, MI 48080                                Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Vacation, personal, and sick pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.31     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $0.00    $0.00
          Michigan Dept of Treasury                                  Check all that apply.
          Attn: Office of Counsel                                     Contingent
          Lansing, MI 48922                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     For notice purposes.
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.32     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $16,557.00    $12,850.00
          Nicholas D. Mirabile                                       Check all that apply.
          125 Sycamore Ln                                             Contingent
          Fairfield, CT 06824                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Serverance
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.33     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $0.00    $0.00
          North Carolina Dept of Revenue                             Check all that apply.
          Post Office Box 871                                         Contingent
          Raleigh, NC 27602                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     For notice purposes.
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.34     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $0.00    $0.00
          NYC Dept of Finance                                        Check all that apply.
          66 John Street, Room 104                                    Contingent
          New York, NY 10038                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     For notice purposes.
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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              Name

 2.35     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $0.00    $0.00
          NYS Dept of Taxation & Finance                             Check all that apply.
          Attn: Office of Counsel                                     Contingent
          Bldg 9, WA Harriman Campus                                  Unliquidated
          Albany, NY 12227                                            Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     For notice purposes.
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.36     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $0.00    $0.00
          Office of the Treasurer & Tax-                             Check all that apply.
          San Francisco City Hall-Rm 140                              Contingent
          1 Dr. Carlton B. Goodlett Plac                              Unliquidated
          San Francisco, CA 94102                                     Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     For notice purposes.
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.37     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $13,437.00    $12,475.00
          Paula L. Balzer                                            Check all that apply.
          2929 Gardens Blvd.                                          Contingent
          Naples, FL 34105                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Vacation, personal, and sick pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.38     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $25,614.00    $12,475.00
          Ping W. Shih                                               Check all that apply.
          1108 W VALLEY BLVD STE 6-179                                Contingent
          Alhambra, CA 91803                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Vacation, personal, and sick pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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 2.39     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $2,322.00    $2,322.00
          Rebecca L. Batterman                                       Check all that apply.
          313 EAST 61ST ST., #6B                                      Contingent
          New York, NY 10065                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Vacation, personal, and sick pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.40     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $6,615.00    $6,615.00
          Richard A. Smith                                           Check all that apply.
          116 S MILLBROOKE CT                                         Contingent
          Advance, NC 27006                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Vacation, personal, and sick pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.41     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $4,423.00    $4,423.00
          Richard J. Shahum                                          Check all that apply.
          470 GLENBROOK RD #2D                                        Contingent
          Stamford, CT 06906                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Serverance
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.42     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $6,202.00    $6,202.00
          Robert F. Casinover                                        Check all that apply.
          37 SKI LANE                                                 Contingent
          Mill Neck, NY 11765                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Vacation, personal, and sick pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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              Name

 2.43     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $3,894.00    $3,894.00
          Robert G. Coombs                                           Check all that apply.
          352 BRIGHTON AVE 208                                        Contingent
          San Francisco, CA 94112                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Vacation, personal, and sick pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.44     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $9,894.00    $9,894.00
          Rodrigo F. Espinosa                                        Check all that apply.
          40 HOWLAND HILL LANE                                        Contingent
          Burlingame, CA 94010                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Vacation, personal, and sick pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.45     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $2,751.00    $2,751.00
          Samant McClernon-Pinches                                   Check all that apply.
          854 WEST 180TH STREET APT                                   Contingent
          #4A                                                         Unliquidated
          New York, NY 10033                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Vacation, personal, and sick pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.46     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $4,206.00    $4,206.00
          Sarah A. Vitale                                            Check all that apply.
          59 W 10 ST 1E                                               Contingent
          New York, NY 10011                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Vacation, personal, and sick pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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              Name

 2.47     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $3,500.00    $3,500.00
          Susan Yin                                                  Check all that apply.
          1572 Manzanita CT                                           Contingent
          COQUITLAM                                                   Unliquidated
          BC V3E 6E3, CANADA                                          Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Vacation, personal, and sick pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.48     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $3,306.00    $0.00
          Susana Chen                                                Check all that apply.
          87-20 56 AVE B4                                             Contingent
          Elmhurst, NY 11373                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Vacation, personal, and sick pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.49     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $1,575.00    $1,575.00
          Tiana M. Rojas                                             Check all that apply.
          207 PROSPECT PARK SW 6D                                     Contingent
          Brooklyn, NY 11218                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Vacation, personal, and sick pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.50     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $1,461.00    $1,461.00
          Tina Marie T. Wassman                                      Check all that apply.
          25430 WESTMORELAND                                          Contingent
          Farmington, MI 48336                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Vacation, personal, and sick pay
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes




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               Name

 2.51       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                          $0.00     $0.00
            TN Dept of Revenue                                       Check all that apply.
            Richard H.Roberts,Commissioner                            Contingent
            500 Deaderick Street                                      Unliquidated
            Nashville, TN 37242                                       Disputed
            Date or dates debt was incurred                          Basis for the claim:
                                                                     For notice purposes.
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                       No
            unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.52       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                       $4,125.00    $4,125.00
            Vladimir Bitel                                           Check all that apply.
            339 AVENUE P 3B                                           Contingent
            Brooklyn, NY 11204                                        Unliquidated
                                                                      Disputed
            Date or dates debt was incurred                          Basis for the claim:
                                                                     Vacation, personal, and sick pay
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                       No
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes

 2.53       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                       $3,284.00    $3,284.00
            Zachary M. Brown                                         Check all that apply.
            2-3 BERGEN RIDGE ROAD                                     Contingent
            North Bergen, NJ 07047                                    Unliquidated
                                                                      Disputed
            Date or dates debt was incurred                          Basis for the claim:
                                                                     Vacation, personal, and sick pay
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                       No
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                      Yes


 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
        3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
           out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $22,000.00
           Accounting Principals                                                    Contingent
           Attn: Pres or Gen Counsel                                                Unliquidated
           Dept CH 14031                                                            Disputed
           Palatine, IL 60055
                                                                                   Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                         Is the claim subject to offset?    No  Yes
 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $9,969.06
           Accurate Staging Nashville Inc                                           Contingent
           Attn: Pres or Gen Counsel                                                Unliquidated
           840 Cowan Street                                                         Disputed
           Nashville, TN 37207
                                                                                   Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                         Is the claim subject to offset?    No  Yes

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              Name

 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $0.00
          AFCO Credit Corporation                                             Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          PO Box 360572                                                       Disputed
          Pittsburgh, PA 15250-6572
                                                                             Basis for the claim:    For notice purposes.
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $500.00
          Alfred R Warner III                                                 Contingent
          1445 American Pacific Dr #110-                                      Unliquidated
          Henderson, NV 89074                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $362.50
          Alissa Campbell                                                     Contingent
          691 N. Blacks Corner Road                                           Unliquidated
          Imlay City, MI 48444                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $13,361.71
          All Stage and Sound Inc                                             Contingent
          Attn: Pres or Gen Counsel                                           Unliquidated
          21500 Laytonsville Rd                                               Disputed
          Laytonsville, MD 20882
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $1,917.00
          AMA Carpets Inc                                                     Contingent
          Attn: Pres or Gen Counsel                                           Unliquidated
          98 12th Street                                                      Disputed
          San Francisco, CA 94103
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $451,038.69
          American Express                                                    Contingent
          Attn: Bankruptcy or Legal Dept                                      Unliquidated
          PO Box 360001                                                       Disputed
          Fort Lauderdale, FL 33336-0010
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $9,009.94
          American Furniture Rentals Inc                                      Contingent
          Attn: Pres or Gen Counsel                                           Unliquidated
          720 Hylton Road                                                     Disputed
          Pennsauken, NJ 08110
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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              Name

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $150.23
          Andrea Bradford                                                     Contingent
          1325 Jackson St                                                     Unliquidated
          San Francisco, CA 94109                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $101.52
          Andrew Lesher                                                       Contingent
          564 Marin Avenue                                                    Unliquidated
          Mill Valley, CA 94941                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $300.00
          Angel + Dren LLC                                                    Contingent
          Attn: Pres or Gen Counsel                                           Unliquidated
          917 E 216th Street                                                  Disputed
          Bronx, NY 10469
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $3,185.00
          Anita Kay Henry                                                     Contingent
          913 Cass Street                                                     Unliquidated
          Traverse City, MI 49684                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $400.00
          Anita Vittoria Lubbers                                              Contingent
          750 N Shoreline Blvd. Apt. 160                                      Unliquidated
          Mountain View, CA 94043                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $991.79
          Ann Brooner                                                         Contingent
          1538 W 7th Street                                                   Unliquidated
          Benicia, CA 94510                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $3,237.50
          Ansonia Prompting Inc                                               Contingent
          Attn: Pres or Gen Counsel                                           Unliquidated
          39 W 29th Street Suite 305                                          Disputed
          New York, NY 10001
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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              Name

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $0.00
          AON Risk Services                                                   Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          PO Box 7247-7376                                                    Disputed
          Philadelphia, PA 19170-7376
                                                                             Basis for the claim:    For notice purposes.
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $5,828.50
          Associated Limousines Inc.                                          Contingent
          Attn: Pres or Gen Counsel                                           Unliquidated
          1398 Bryant Street                                                  Disputed
          San Francisco, CA 94103
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $0.00
          AT&T                                                                Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          PO Box 5019                                                         Disputed
          Carol Stream, IL 60197-5019
                                                                             Basis for the claim:    For notice purposes.
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $0.00
          AT&T Mobility                                                       Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          PO Box 9004 National Bus. Svcs                                      Disputed
          Carol Stream, IL 60197-9004
                                                                             Basis for the claim:    For notice purposes
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $170,680.75
          Audio Visual Mmgt. Solutions                                        Contingent
          Attn: Pres or Gen Counsel                                           Unliquidated
          814 6th Ave South                                                   Disputed
          Seattle, WA 98134
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $1,143.33
          Averitt Express Inc                                                 Contingent
          Attn: Pres or Gen Counsel                                           Unliquidated
          1415 Neal Street PO Box 3166                                        Disputed
          Cookeville, TN 38502
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $630.00
          Axiom Labs LLC                                                      Contingent
          Attn: Pres or Gen Counsel                                           Unliquidated
          1894 E. Williams St. Ste 4 #20                                      Disputed
          Carson City, NV 89701-3202
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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              Name

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $48,000.00
          BDO USA                                                             Contingent
          1888 Century Park East Fl 4                                         Unliquidated
          Los Angeles, CA 90067
                                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $14,832.84
          Benesch Friedlander et al.                                          Contingent
          Attn: Managing Partner                                              Unliquidated
          200 Public Sq. #2300                                                Disputed
          Cleveland, OH 44114
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $12,000.00
          Benjamin Harrison Bryant                                            Contingent
          16 Manhattan Ave Apt 2F                                             Unliquidated
          Brooklyn, NY 11206                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $0.00
          BFI Waste Services LLC                                              Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          RepublicSvs#840 PO Box 9001099                                      Disputed
          Louisville, KY 40290-1099
                                                                             Basis for the claim:    For notice purposes.
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $2,370.00
          BJL Productions                                                     Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          15 Second Street Apt 2                                              Disputed
          Sausalito, CA 94965
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $1,051.00
          Blanchard Communications                                            Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          11637 Kensington Court                                              Disputed
          Boca Raton, FL 33428
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $4,000.00
          Blank Productions                                                   Contingent
          Bertrand Blank DJ By the Bay                                        Unliquidated
          7 Britt Court                                                       Disputed
          Alameda, CA 94502
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       TBA Global, LLC f/k/a TBA Global Events, LLC                                            Case number (if known)
              Name

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $13,123.27
          Blueprint Studio Trends                                             Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          352 Shaw Rd                                                         Disputed
          South San Francisco, CA 94080
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $5,750.00
          Branded Cities NY Digital LLC                                       Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          2850 E Camelback Rd Ste 110                                         Disputed
          Phoenix, AZ 85016
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $5,886.97
          Britten Banners Inc                                                 Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          2322 Cass Road                                                      Disputed
          Traverse City, MI 49684
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $272,705.00
          Cacique International                                               Contingent
          The Imagine Bldg., Airport -                                        Unliquidated
          Industrial Park, PO Box N-4941                                      Disputed
          Nassau, The Bahamas
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $456.74
          Camille Jacinto Hale                                                Contingent
          597 Fairway Drive                                                   Unliquidated
          Novato, CA 94949                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $32,788.30
          Christie Lites Enterprises USA                                      Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          6990 Lake Ellenor Dr.                                               Disputed
          Orlando, FL 32809
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $6,501.70
          CLIC LLC                                                            Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          601 20th St Andresen                                                Disputed
          San Francisco, CA 94108
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       TBA Global, LLC f/k/a TBA Global Events, LLC                                            Case number (if known)
              Name

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $70.66
          Comcast Corporation                                                 Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          PO Box 37601                                                        Disputed
          Philadelphia, PA 19101-0601
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $0.00
          Comcast Corporation                                                 Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          PO Box 3005                                                         Disputed
          Southeastern, PA 19398-3005
                                                                             Basis for the claim:    For notice purposes.
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $0.00
          Comcast Corporation                                                 Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          PO Box 105184                                                       Disputed
          Atlanta, GA 30348-5184
                                                                             Basis for the claim:    For notice purposes.
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $0.00
          Comcast Corporation                                                 Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          PO Box 37601                                                        Disputed
          Philadelphia, PA 19101-0601
                                                                             Basis for the claim:    For notice purposes.
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $4,851.00
          Corporate Kids Events Inc                                           Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          12276 Edward Dr                                                     Disputed
          Grass Valley, CA 95949
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $0.00
          Corporation Service Co                                              Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          PO box 13397                                                        Disputed
          Philadelphia, PA 19101-0601
                                                                             Basis for the claim:    For notice purposes.
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $4,146.10
          CORT Business Services Corpora                                      Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          3455 W Sunset Road Suite A                                          Disputed
          Las Vegas, NV 89118
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       TBA Global, LLC f/k/a TBA Global Events, LLC                                            Case number (if known)
              Name

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $127,554.39
          Creative Technology Group Inc                                       Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          14000 Arminta Street                                                Disputed
          Panorama City, CA 91402
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $389,598.02
          Crowell & Moring LLP                                                Contingent
          Attn: Managing Partner                                              Unliquidated
          590 Madison Ave 20th Flr                                            Disputed
          New York, NY 10022
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $3,560.00
          CS Management LLC                                                   Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          PO Box 8347                                                         Disputed
          Elkridge, MD 21075
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $10.34
          CSC Corporate Domains Inc                                           Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          PO Box 13397                                                        Disputed
          Philadelphia, PA 19101-3397
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $1,250.00
          Daniel Gaines                                                       Contingent
          4398 Hamilton Ave Apt B                                             Unliquidated
          San Jose, CA 95130                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $1,200.00
          Daniel Kokin                                                        Contingent
          1777 Adobe Canyon Rd                                                Unliquidated
          Kenwood, CA 95452                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $8,850.00
          Dave and Company                                                    Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          1919 W Belmont Avenue                                               Disputed
          Chicago, IL 60657
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $93.56
          Dave Longwill                                                       Contingent
          1505 Demonbreun St Apt 601                                          Unliquidated
          Nashville, TN 37203                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $300.00
          David Barr                                                          Contingent
          102 G St Apt 1                                                      Unliquidated
          San Rafael, CA 94901                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $2,078.55
          David E M Arnold                                                    Contingent
          25 Greenfield Ave                                                   Unliquidated
          Summit, NJ 07901                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $3,000.00
          David Rockwell                                                      Contingent
          39 Jane St, Apt 2C                                                  Unliquidated
          New York, NY 10014                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $0.00
          DS Services of America                                              Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          DTE Energy PO Box 740786                                            Disputed
          Cincinnati, OH 45274-0786
                                                                             Basis for the claim:    For notice purposes.
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $6,362.00
          Duane Robinson                                                      Contingent
          Bay Area Theatrical Rigging                                         Unliquidated
          1555 Burke Ave Unit O                                               Disputed
          San Francisco, CA 94124
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $12,640.50
          E-vents Registration LLC                                            Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          40 Tillman Street                                                   Disputed
          Westwood, NJ 07675
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $51,549.12
          Event EQ LLC                                                        Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          7079 Oakland Mills Rd Suite 4                                       Disputed
          Columbia, MD 21046
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $42,046.96
          Event Services &Production LLC                                      Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          1411 Elm Hill Pike Ste 209                                          Disputed
          Nashville, TN 37210
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $1,178.59
          Federal Express                                                     Contingent
          Attn: Bankruptcy Legal Dept.                                        Unliquidated
          PO Box 7221                                                         Disputed
          Pasadena, CA 91109-7321
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $0.00
          Fidelity Management Trust                                           Contingent
          Attn: General Counsel                                               Unliquidated
          82 Devonshire Street                                                Disputed
          Boston, MA 02109
                                                                             Basis for the claim:    For notice purposes.
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $0.00
          First Data                                                          Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          5565GlenridgeConnectorNE #2000                                      Disputed
          Atlanta, GA 30342
                                                                             Basis for the claim:    For notice purposes.
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $450,000.00
          Google Inc. Accounts Payable                                        Contingent
          Attn: President or Gen Counsel
          PO Box 2050
                                                                              Unliquidated
          Mountain View, CA 94042-2050                                        Disputed
          Date(s) debt was incurred                                                      Deposit for project -- Google:All Star SMB
                                                                             Basis for the claim:
          Last 4 digits of account number                                    Summit:GOO049P0816A
                                                                             Is the claim subject to offset?    No  Yes
 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $0.00
          Granite                                                             Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          PO Box 983119                                                       Disputed
          Boston, MA 02298-3119
                                                                             Basis for the claim:    For notice purposes.
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes



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 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $8,032.85
          Harry McCune Sound Svc                                              Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          101 Utah Ave McCune                                                 Disputed
          South San Francisco, CA 94080
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $2,381.60
          Hosts Destination Services Inc                                      Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          7475 Wisconsin Ave #640                                             Disputed
          Bethesda, MD 20184
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $470,183.00
          IBM Endicott Accounts Payable                                       Contingent
          Attn: President or Gen Counsel
          1701 North Street
                                                                              Unliquidated
          Endicott, NY 13761                                                  Disputed
          Date(s) debt was incurred                                                        Deposit for project -- IBM:HPC Phase
                                                                             Basis for the claim:
          Last 4 digits of account number                                    3:IBM086P0616D
                                                                             Is the claim subject to offset?    No  Yes
 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.     $3,811,417.80
          IBM Endicott Accounts Payable                                       Contingent
          Attn: President or Gen Counsel
          1701 North Street
                                                                              Unliquidated
          Endicott, NY 13761                                                  Disputed
          Date(s) debt was incurred                                                        Deposit for project -- IBM:Hundred Percent Club
                                                                             Basis for the claim:
          Last 4 digits of account number                                    Americas:IBM086P0616B
                                                                             Is the claim subject to offset?    No  Yes
 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $4,509.83
          Inprintz Inc                                                        Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          924 Borregas Ave                                                    Disputed
          Sunnyvale, CA 94089
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $2,900.00
          Inter-Tain Productions LLC                                          Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          5213 Cathedral Ave NW Ste 100                                       Disputed
          Washington, DC 20016
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $691.40
          Iron Mountain Offsite Data                                          Contingent
          Attn:Gen Counsel or Legal Dept                                      Unliquidated
          PO Box 915004                                                       Disputed
          Dallas, TX 75391
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes


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 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $3,470.26
          Island Creative Management LLC                                      Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          712 Bancroft Rd #506                                                Disputed
          Walnut Creek, CA 94598
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $39,055.38
          J A Melons Inc                                                      Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          390 Swift Ave Suite 1                                               Disputed
          South San Francisco, CA 94080
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $1,300.00
          Jeff D Lietz                                                        Contingent
           7018 Richmond Ave                                                  Unliquidated
          Darien, IL 60561                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $59.90
          Jennifer Beers                                                      Contingent
          17 Buhl Lane                                                        Unliquidated
          East Northport, NY 11731                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $28.44
          Jessica Lapin                                                       Contingent
          633 Cleveland Street #2                                             Unliquidated
          Oakland, CA 94606                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $11,438.00
          Jonathan Irons                                                      Contingent
          46-55 Metropolitan Ave                                              Unliquidated
          Siote 406                                                           Disputed
          Ridgewood, NY 11385
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $6,245.19
          JVMSL Events Inc                                                    Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          7895 Cessna Ave Suite K                                             Disputed
          Gaithersburg, MD 20879
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       TBA Global, LLC f/k/a TBA Global Events, LLC                                            Case number (if known)
              Name

 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $3,110.00
          Kathryn Skoglund                                                    Contingent
          1022 Woodbine Ave                                                   Unliquidated
          Oak Park, IL 60302                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $11,305.00
          Kathy Bond                                                          Contingent
          3135 W Wilson Ave #2                                                Unliquidated
          Bond Results                                                        Disputed
          Chicago, IL 60625
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $1,476.64
          Keith Balzer                                                        Contingent
          57 Front St Apt 203                                                 Unliquidated
          Brooklyn, NY 11201                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $11,111.20
          Kuoni Destination Mgmt. Inc.                                        Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          500 Seventh Avenue 9th Fl                                           Disputed
          New York, NY 10018
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $0.00
          Level 3 Communications                                              Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          PO Box 910182                                                       Disputed
          Denver, CO 80291-0182
                                                                             Basis for the claim:    For notice purposes.
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $400.00
          Marshyl Rothman                                                     Contingent
          144 7th Ave                                                         Unliquidated
          Brooklyn, NY 11215                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $0.00
          Microsoft Corporation                                               Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          PO Box 842103                                                       Disputed
          Dallas, TX 75284-2103
                                                                             Basis for the claim:    For notice purposes.
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 Debtor       TBA Global, LLC f/k/a TBA Global Events, LLC                                            Case number (if known)
              Name

 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $2,800.00
          MRI Lightpainting LLC                                               Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          141 Spencer St #107                                                 Disputed
          Brooklyn, NY 11205
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $0.00
          Mutual of Omaha Insurance                                           Contingent
          Attn: General Counsel                                               Unliquidated
          PO Bos 2147                                                         Disputed
          Omaha, NE 68103-2147
                                                                             Basis for the claim:    For notice purposes.
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $2,400.00
          Naomi Cogliandro                                                    Contingent
          1330 Funston Ave                                                    Unliquidated
          San Francisco, CA 94122                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $0.00
          Nashville Electric Service                                          Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          1214 Church Street                                                  Disputed
          Nashville, TN 37246-0030
                                                                             Basis for the claim:    For notice purposes.
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $3,150.00
          Neysa L Cromer Forgotten Ink                                        Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          9353 W 100th Cir                                                    Disputed
          Westminster, CO 80021
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $9,737.50
          Noldermedia Inc                                                     Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          2269 Chestnut St #140                                               Disputed
          San Francisco, CA 94123
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $44,483.85
          NRG Energy Inc.                                                     Contingent
          Accounts Payable
          112 Telly Street
                                                                              Unliquidated
          New Roads, LA 70760                                                 Disputed
          Date(s) debt was incurred                                                       Deposit for project -- NRG:Frontline
                                                                             Basis for the claim:
          Last 4 digits of account number                                    Event:NRG065M0616A
                                                                             Is the claim subject to offset?    No  Yes



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              Name

 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $75,554.00
          NRG Energy Inc.                                                     Contingent
          Accounts Payable
          112 Telly Street
                                                                              Unliquidated
          New Roads, LA 70760                                                 Disputed
          Date(s) debt was incurred                                                       Deposit for project -- NRG:Leadership
                                                                             Basis for the claim:
          Last 4 digits of account number                                    Meeting:NRG065M0516A
                                                                             Is the claim subject to offset?    No  Yes
 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $737,274.64
          Nteractive Consulting & Events                                      Contingent
          Limited Knyvett House                                               Unliquidated
          The Causeway Staines                                                Disputed
          TW18 3BA United Kingdom
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $3,000.00
          Octagon Inc                                                         Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          800 Connecticut Ave Ste 2E                                          Disputed
          Norwalk, CT 06854
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $20,450.00
          On Assignment Inc Creative Cir                                      Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          28027 Network Place                                                 Disputed
          Chicago, IL 60673
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $38,967.32
          One Hat One Hand LLC                                                Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          1335 Yosemite St                                                    Disputed
          San Francisco, CA 94124
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $5,150.86
          Pacific Union Co                                                    Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          1030 Main St Ste 300                                                Disputed
          Saint Helena, CA 94574
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $2,600.00
          Paul Shorr                                                          Contingent
          322 W. 72nd St #13B                                                 Unliquidated
          C/o Porges                                                          Disputed
          New York, NY 10023
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes



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 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $0.00
          PC Mall                                                             Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          PCM Sales Inc File 55327                                            Disputed
          Los Angeles, CA 90074-5327
                                                                             Basis for the claim:    For notice purposes.
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $5,500.00
          Philz Coffee Inc                                                    Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          1258 Minnesota Street                                               Disputed
          San Francisco, CA 94107
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $0.00
          PIEDMONT NATURAL GAS COMPANY                                        Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          PO Box 660920                                                       Disputed
          Dallas, TX 75266-0920
                                                                             Basis for the claim:    For notice purposes.
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $34,388.17
          PLUG Digital Inc                                                    Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          229 W 28th Street                                                   Disputed
          New York, NY 10001
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $0.00
          Poland Spring                                                       Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          ReadyFresh PO Box 856192                                            Disputed
          Louisville, KY 40285-6192
                                                                             Basis for the claim:    For notice purposes.
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $187,500.00
          Post Capital Management II LLC                                      Contingent
          Attn: M. Pfeffer, C. Cheang..                                       Unliquidated
          747 Third Ave., 19th Floor                                          Disputed
          New York, NY 10017
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $30,149.32
          Pro-Kids Productions Inc                                            Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          915 Twin Elms Ct                                                    Disputed
          Nashville, TN 37064
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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              Name

 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $16,889.62
          Production Support Services                                         Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          8886 Spanish Ridge Ave                                              Disputed
          Las Vegas, NV 89148
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $49,730.09
          Purepartner By Design                                               Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          7 W 55th St FL 7                                                    Disputed
          New York, NY 10019
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $0.00
          Regus Corporation                                                   Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          PO Box 842456                                                       Disputed
          Dallas, TX 75284-2456
                                                                             Basis for the claim:    For notice purposes.
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $8,175.00
          Renegade Lovers LLC                                                 Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          241 Troutman St #1R                                                 Disputed
          Brooklyn, NY 11237
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $10,538.24
          Richard Bruno                                                       Contingent
          514 W End Ave 1A                                                    Unliquidated
          New York, NY 10024                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $0.00
          RingCentral Inc.                                                    Contingent
          Attn: Accounting                                                    Unliquidated
          Dept Ch 19585                                                       Disputed
          Palatine, IL 60055-9585
                                                                             Basis for the claim:    For notice purposes.
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $583,432.00
          RJ Reynolds Tobbaco Co.                                             Contingent
          Attn: Disbursements/Legal Dept
          PO Box 2955
                                                                              Unliquidated
          Winston Salem, NC 27102                                             Disputed
          Date(s) debt was incurred                                                        Deposit for project -- RJR:Coaching
                                                                             Basis for the claim:
          Last 4 digits of account number                                    Conference:RJR065P0516A
                                                                             Is the claim subject to offset?    No  Yes



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 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $5,927.00
          Rye Bar Corp Rye On The Road                                        Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          688 Geary Street                                                    Disputed
          San Francisco, CA 94102
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $3,113.49
          SAI Global Inc                                                      Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          PO Box 311116 Lock B # T66072U                                      Disputed
          Detroit, MI 48231
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $8,625.00
          Sara Kauss Photography                                              Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          18918 131st Trail North                                             Disputed
          Jupiter, FL 33478
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $7,976.00
          Seven Red Productions Inc                                           Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          55 32nd Street                                                      Disputed
          Copiague, NY 11726
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $13,223.00
          Simulmedia Accounts Payable                                         Contingent
          401 Park Avenue South
          11th Floor
                                                                              Unliquidated
          New York, NY 10016                                                  Disputed
          Date(s) debt was incurred                                                        Deposit for project -- Simulmedia:PeopleFront
                                                                             Basis for the claim:
          Last 4 digits of account number                                    2016:SIM086P0416A
                                                                             Is the claim subject to offset?    No  Yes
 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $165.79
          Skyline Credit Ride Inc                                             Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          52-29 35th St                                                       Disputed
          Long Island City, NY 11101
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $187,500.00
          SLCCP Management Co., LLC                                           Contingent
          Attn: Samuel Shimer                                                 Unliquidated
          4905 34th St. S. #355                                               Disputed
          Saint Petersburg, FL 33711
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes



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 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $5,508.17
          Southfield HS Development LLC                                       Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          26555 Evergreen Rd Suite 102                                        Disputed
          Southfield, MI 48076
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $822.99
          Staples Contract & Commercial                                       Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          PO Box 83689 Staples Adv. Dept                                      Disputed
          Chicago, IL 60696-3689
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $21,200.00
          Stone Mountain Productions                                          Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          109 Murdock Creek Court                                             Disputed
          Cary, NC 27519
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $252.38
          Tel. Buying Group LLC                                               Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          PO Box 347261 TBG Conferencing                                      Disputed
          Pittsburgh, PA 15251-4261
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $27,740.00
          The Bosco Booth LLC                                                 Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          1182 Flushing Ave Suite 308                                         Disputed
          Brooklyn, NY 11237
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $2,296.34
          The Hartford                                                        Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          PO Box 660916                                                       Disputed
          Dallas, TX 75266-0916
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $0.00
          The Hartford                                                        Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          PO Box 660916                                                       Disputed
          Dallas, TX 75226-0916
                                                                             Basis for the claim:    For notice purposes.
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 32 of 35
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                                                                        Pg 44 of 52
 Debtor       TBA Global, LLC f/k/a TBA Global Events, LLC                                            Case number (if known)
              Name

 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $7,621.27
          This Is It StageWorks LLC                                           Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          720 Monroe Street #E303                                             Disputed
          Hoboken, NJ 07030
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $993.00
          Tim P Miller                                                        Contingent
          1362 Monte Maria Ave                                                Unliquidated
          Downstage Center Design                                             Disputed
          Novato, CA 94947
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $0.00
          Time Warner Cable                                                   Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          PO Box 11820                                                        Disputed
          Newark, NJ 07101
                                                                             Basis for the claim:    For notice purposes.
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $3,000.00
          Tina-Marie Wassman                                                  Contingent
          25430 Westmoreland Dr                                               Unliquidated
          Farmington, MI 48336                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $241,761.31
          Total Brand Activation PTE Ltd                                      Contingent
          PICO Creative Centre                                                Unliquidated
          20 Kallang Avenue                                                   Disputed
          Singapore 339411
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $0.00
          TransitChek                                                         Contingent
          Lockbox 27457/JP Morgan Chase                                       Unliquidated
          4 Chase Metrotech Center 7 FlE                                      Disputed
          Brooklyn, NY 11245
                                                                             Basis for the claim:    For notice purposes.
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $1,755.00
          Transzap Inc                                                        Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          Dept 3597 PO Box 123597                                             Disputed
          Dallas, TX 75312
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 33 of 35
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 Debtor       TBA Global, LLC f/k/a TBA Global Events, LLC                                            Case number (if known)
              Name

 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $196,869.99
          Travis Inc                                                          Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          920 East State Pkwy                                                 Disputed
          Schaumburg, IL 60173
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $100,957.06
          Turtle Bay Resort LLC                                               Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          57-091 Kamehameha Hwy                                               Disputed
          Kahuku, HI 96731
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $92,780.88
          UFC Accounts Payable                                                Contingent
          or Attn: Pres. or Gen Counsel
          2960 West Sahara
                                                                              Unliquidated
          Las Vegas, NV 89102                                                 Disputed
          Date(s) debt was incurred                                                        Deposit for project -- UFC:Consulting
                                                                             Basis for the claim:
          Last 4 digits of account number                                    Retainer:UFC086P0716A
                                                                             Is the claim subject to offset?    No  Yes
 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $17,956.02
          UFC Accounts Payable                                                Contingent
          or Attn: Pres. or Gen Counsel
          2960 West Sahara
                                                                              Unliquidated
          Las Vegas, NV 89102                                                 Disputed
          Date(s) debt was incurred                                                         Deposit for project -- UFC:Production
                                                                             Basis for the claim:
          Last 4 digits of account number                                    Activation:UFC086P0316A
                                                                             Is the claim subject to offset?    No  Yes
 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $17,500.00
          UFC Accounts Payable                                                Contingent
          or Attn: Pres. or Gen Counsel
          2960 West Sahara
                                                                              Unliquidated
          Las Vegas, NV 89102                                                 Disputed
          Date(s) debt was incurred                                                        Deposit for project -- UFC:Programming
                                                                             Basis for the claim:
          Last 4 digits of account number                                    Development:UFC086P0316B
                                                                             Is the claim subject to offset?    No  Yes
 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $14,700.00
          Versatile Solutions LLC                                             Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          1894 E Williams St Ste 4 #208                                       Disputed
          Carson City, NV 89701-3202
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $15,000.00
          Washington Speakers Bureau Inc                                      Contingent
          Attn: President or Gen Counsel                                      Unliquidated
          1663 Prince Street                                                  Disputed
          Alexandria, VA 22314
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes

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 Debtor       TBA Global, LLC f/k/a TBA Global Events, LLC                                            Case number (if known)
              Name

 3.143     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $2,700.00
           We Serve Inc                                                       Contingent
           Attn: President or Gen Counsel                                     Unliquidated
           6280 S Valley View Blvd #334                                       Disputed
           Las Vegas, NV 89118
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.144     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $34,615.10
           Wheels Up Partners LLC                                             Contingent
           220 W 42nd Street FL 9                                             Unliquidated
           New York, NY 10036                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.145     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             $205,000.00
           Winston & Strawn                                                   Contingent
           Attn: Carey Schreiber, Esq.                                        Unliquidated
           200 Park Avenue
                                                                              Disputed
           New York, NY 10166
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.146     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $8,075.00
           Words That Work Inc                                                Contingent
           Attn: President or Gen Counsel                                     Unliquidated
           482 E 900 N Harry Karabel                                          Disputed
           Valparaiso, IN 46383
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                      217,260.00
 5b. Total claims from Part 2                                                                            5b.    +   $                    9,731,235.02

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                        9,948,495.02




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 Fill in this information to identify the case:

 Debtor name         TBA Global, LLC f/k/a TBA Global Events, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal             Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.1.         State what the contract or                  Commercial lease for
              lease is for and the nature of              premises located at 531
              the debtor's interest                       N. Brand Blvd. #800,
                                                          Glendale, CA 91203 and
                                                          vacated on or about
                                                          February 2016.
                  State the term remaining                expires on 9/1/16            BRE CA Office Owner LLC
                                                                                       C/o Equity Office Management
              List the contract number of any                                          27200 Tourney Rd. Ste. 310
                    government contract                                                Valencia, CA 91355


 2.2.         State what the contract or                  Master services
              lease is for and the nature of              agreement.
              the debtor's interest

                  State the term remaining                expires on 12/1/17           Coca Cola Company
                                                                                       Accts Payable or Legal Dept
              List the contract number of any                                          PO Drawer 2467
                    government contract                                                Atlanta, GA 30301


 2.3.         State what the contract or                  Master services
              lease is for and the nature of              agreement.
              the debtor's interest

                  State the term remaining                4/1/17                       Diageo
                                                                                       Attn: Gen Counsel/Legal Dept
              List the contract number of any                                          530 5th Ave #4
                    government contract                                                New York, NY 10036


 2.4.         State what the contract or                  Global master services
              lease is for and the nature of              agreement
              the debtor's interest

                  State the term remaining                                             Google Inc.
                                                                                       Attn: Legal Dept
              List the contract number of any                                          PO Box 2050
                    government contract                                                Mountain View, CA 94042-2050



Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                            Page 1 of 4
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 Debtor 1 TBA Global, LLC f/k/a TBA Global Events, LLC                                          Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.5.        State what the contract or                   Global master services
             lease is for and the nature of               agreement
             the debtor's interest

                  State the term remaining                expires on 12/1/18            IBM
                                                                                        Accts Payable or Legal Dept
             List the contract number of any                                            1701 North Street
                   government contract                                                  Endicott, NY 13761-9005


 2.6.        State what the contract or                   Provider of
             lease is for and the nature of               professional employer
             the debtor's interest                        organization services.

                  State the term remaining                expires on 10/1/16            Oasis Outsourcing
                                                                                        Attn: President or Gen Counsel
             List the contract number of any                                            PO Box 221045
                   government contract                                                  West Palm Beach, FL 33422


 2.7.        State what the contract or                   Accounting software
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                expires on 3/1/17             Oildex f/k/a ADP Open Invoice
                                                                                        Attn: President or Gen Counsel
             List the contract number of any                                            633 Seventeenth St, Suite 2000
                   government contract                                                  Denver, CO 80202


 2.8.        State what the contract or                   Commercial sublease
             lease is for and the nature of               for premises located at
             the debtor's interest                        106 Lincoln Boulevard,
                                                          San Francisco, CA
                                                          94129.
                  State the term remaining                montth-to-month               Pacific Union Co.
                                                                                        Attn: President or Gen Counsel
             List the contract number of any                                            1030 Main St., Suite 300
                   government contract                                                  Saint Helena, CA 94574


 2.9.        State what the contract or                   Employment agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                n/a
                                                                                        Paula L. Balzer
             List the contract number of any                                            2929 Gardens Blvd.
                   government contract                                                  Naples, FL 34105


 2.10.       State what the contract or                   Management
             lease is for and the nature of               consulting agreement.
             the debtor's interest                                                      Post Capital Management II LLC
                                                                                        Attn: M. Pfeffer, C. Cheang..
                  State the term remaining                expires on November           747 Third Ave., 19th Floor
                                                          2022                          New York, NY 10017
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                       Page 2 of 4
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 Debtor 1 TBA Global, LLC f/k/a TBA Global Events, LLC                                         Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

             List the contract number of any
                   government contract


 2.11.       State what the contract or                   Copier leases for
             lease is for and the nature of               various debtor
             the debtor's interest                        locations.

                  State the term remaining                expires on 5/31/16           Ricoh USA Program
                                                                                       Attn: President or Gen Counsel
             List the contract number of any                                           PO Box 650073
                   government contract                                                 Dallas, TX 75265


 2.12.       State what the contract or                   Global master services
             lease is for and the nature of               agreement
             the debtor's interest

                  State the term remaining                expires 7/12/17              RJ Reynolds Tobacco Co.
                                                                                       Legal Dept or Disbursements
             List the contract number of any                                           PO Box 2955
                   government contract                                                 Winston Salem, NC 27102


 2.13.       State what the contract or                   Commercial lease for
             lease is for and the nature of               premises located at 113
             the debtor's interest                        Seaboard Lane, Suite
                                                          A105, Franklin, TN
                                                          37067
                  State the term remaining                expires on 6/30/17           Rollins Associates L.P.
                                                                                       Attn: President or Gen Counsel
             List the contract number of any                                           PO Box 100526
                   government contract                                                 Nashville, TN 37224


 2.14.       State what the contract or                   Global master services
             lease is for and the nature of               agreement
             the debtor's interest

                  State the term remaining                n/a                          Salesforce
                                                                                       Streamline Events
             List the contract number of any                                           1290 59th Street
                   government contract                                                 Emeryville, CA 94608


 2.15.       State what the contract or                   Accounting software
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                unknown                      Skyline UniData
                                                                                       Attn: President or Gen Counsel
             List the contract number of any                                           65-21 Fresh Meadow Lane
                   government contract                                                 Flushing, NY 11365




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                      Page 3 of 4
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 Debtor 1 TBA Global, LLC f/k/a TBA Global Events, LLC                                          Case number (if known)
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.16.       State what the contract or                   Management
             lease is for and the nature of               consulting agreement
             the debtor's interest

                  State the term remaining                expires on November           SLCCP Management Co., LLC
                                                          2022                          Attn: Samuel Shimer
             List the contract number of any                                            4905 34th St. S. #355
                   government contract                                                  Saint Petersburg, FL 33711


 2.17.       State what the contract or                   Master services
             lease is for and the nature of               agreement (North
             the debtor's interest                        America)

                  State the term remaining                expires on 1/5/18             Sony
                                                                                        Accts Payable or Legal Dept
             List the contract number of any                                            2207 Bridgepointe Pkwy
                   government contract                                                  San Mateo, CA 94404


 2.18.       State what the contract or                   Commercial lease for
             lease is for and the nature of               premises located at
             the debtor's interest                        26555 Evergreen Road,
                                                          Suite 530, Southfield,
                                                          MI 48076
                  State the term remaining                expires on 12/31/17           Southfield HS Development LLC
                                                                                        Attn: President or Gen Counsel
             List the contract number of any                                            26555 Evergreen Rd Ste. 102
                   government contract                                                  Southfield, MI 48076


 2.19.       State what the contract or                   Commercial sublease
             lease is for and the nature of               for premises located at
             the debtor's interest                        220 W. 42nd Street
                                                          Floor 10, New York, NY
                                                          10036
                  State the term remaining                expires on 9/30/16            Wheels Up Partners LLC
                                                                                        Attn: President or Gen Counsel
             List the contract number of any                                            220 W. 42nd Street Flr 9
                   government contract                                                  New York, NY 10036




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                       Page 4 of 4
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 Fill in this information to identify the case:

 Debtor name         TBA Global, LLC f/k/a TBA Global Events, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                           Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                  Name                            Check all schedules
                                                                                                                                that apply:

    2.1      Global Events                     220 W. 42nd St. Floor 10                         Webster Bank,                   D       2.1
             and Marketing                     New York, NY 10036                               National Assoc.                  E/F
                                                                                                                                G



    2.2      Global Events                     220 W. 42nd St. Floor 10                         Webster Bank,                   D       2.2
             and Marketing                     New York, NY 10036                               National Assoc.                  E/F
                                                                                                                                G



    2.3      TBA Global                        220 W. 42nd Street Floor 10                      Webster Bank,                   D       2.1
             Holdings, Inc.                    New York, NY 10036                               National Assoc.                  E/F
                                                                                                                                G



    2.4      TBA Global                        220 W. 42nd St. Floor 10                         Webster Bank,                   D       2.2
             Holdings, Inc.                    New York, NY 10036                               National Assoc.                  E/F
                                                                                                                                G



    2.5      TBA Global                        Thornton House, Thornton Road                    Webster Bank,                   D       2.1
             Limited                           Wimbledon London SW19 4NB                        National Assoc.                  E/F
                                               United Kingdom
                                                                                                                                G




Official Form 206H                                                        Schedule H: Your Codebtors                                         Page 1 of 2
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 Debtor       TBA Global, LLC f/k/a TBA Global Events, LLC                              Case number (if known)



            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.6      TBA Global                        Thornton House, Thornton Road                 Webster Bank,            D       2.2
             Limited                           Wimbledon, London SW19 4NB                    National Assoc.           E/F
                                               United Kingdom
                                                                                                                      G




    2.7      TBA Global                        3665 Kingsway Suite 300                       Webster Bank,            D       2.1
             Marketing, Inc.                   Vancouver BC V5R 5W2 Canada                   National Assoc.           E/F
                                                                                                                      G



    2.8      TBA Global                        3655 Kingsway Suite 300                       Webster Bank,            D       2.2
             Marketing, Inc.                   Vancouver, BC V5R 5W2 Canada                  National Assoc.           E/F
                                                                                                                      G




Official Form 206H                                                       Schedule H: Your Codebtors                               Page 2 of 2
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